       Case 1:18-cr-20880-DPG Document 6 Entered on FLSD Docket 11/16/2018 Page 1 of 1

                                              ulxuyEoRbER?u
                                                          z/a,
                                                             se,4->                                                  Page1
                             M agistratè Judge                    2 han G oodm an
                        KingBuildingcourtroom 11-a                                 Date:11/1s/2o18 Time:1:aop.m.
Defendant: JULIEANNPINDER                      J#:1 #û -In ase#:18-20880-cR-GAYLES(SEALED)
AUSA: ks?-r vtp Oocnca-                                     Attorney,          /j'
                                                                                 tj ron                         erm
Violation: FALSESTATEMENTINPASSPORTAPPLICATION                    Surr/ArrestDate:
                                                                                ' 11/14/2018        .     YO B:1957 '

Proceeding; lnitialAppearance                                          CJA Appt:
Bond/PTD Held:C'Yes C No                  Recom mended Bond:                              ..                -        ,
Bondsetat: -                l6Tk Pk5                                   co-si
                                                                           gnedby              ,
                                                                                               /,
                                                                                                -
                                                                                                6/0. t-
                                                                                                      tlas/ofz ,
                                                                                                               .
                                                                                                               t
                                                                                                               At
    177 surrenderand/ordo notobtainpassports/traveldocs                        Language:                        z'
                                                                                                                 n
                                 N%

    r7 eportto PT as directed/ r          x'saweek/monthby                 .
                                                                               Dispositi :
       Phone:       '       ek/monthinperson                                               .                         '
       Random urine testing by Pretrial
 Nr Services
       Treatm entas deem ed necessary                                                                                -
 Nr' Refrainfromexcessi
                      veuseofalcohol                                             y (#            z/oo                       ,
 Nr' Participateinmentalhealthassessment&treatment                                        -         e
 Nr' Maintainorseekfull-timeemployment/education
 NL Nocontactwithvictims/witnessesexceptthrough counsel
                                          ,                                                e     /&    S
 nr Nofirearms                                                                  l,tl              -st po <..ç.
    C1 V3
       Notto
         Xl
             encsuim
           1otVi
                    berproperty% é.   6
                                      ,s-
                   ttF3NSPOX3ti0RCst3bli
                                         c
                                         5-
                                          /CI@.S
                                        hments
                                                                                    P/-/
                                                                                       >k
                                                                                       -
                                                                                       oce z
                                                                                     61, s
                                                                                           -ê.
                                                                                           ashî- &
.
 nr HomeConfinement/ElectronicMonitoringand/or                                                 rJ       o
       curfew            pm to                am ,paid by
                                                                                 Peadfng t), Incjlct
 NE' Allowances:Medicalneeds,courtappearances,attorneyvisits,
     religious,em ploym ent
                                                                                                    mentwaive
                                                                                      , y p ea :ntere(J
                                                                                 Jury trial cf
 Nr Travelextendedto:                                                               j.
                                                                                     ysj .          y                ? cj
 Xr' other:                                                   .                 from speedyyrialcloc
                                                                                                                     q*
                                                                                                                       .
NEXT COURT APPEARANCE    Date:                Tim e:          Judge:                             Place:
ReportRE Counsel:
PTD/BondHearing'.
Prelim/ArraignorRemoval:
statusconferenFeRE:
D.
 A.R. /Y'.:
          3,'
            #..1c d)                                                Timeincourt: -
                                                                                 11 /p-
                                                                                      '
                                                                                      ?/*
                                                                                        'z-3
                                      s/lonathanGoodman                                        MagistrateJudge
